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EXHIBIT B

MASTER BALLOTS

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Master Ballot for Senior Noteholder Claims

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 1 1
TRIBUNE COMPANY, et al.,! Case No. 08-13141 (KIC)
Debtors. Jointly Administered

MASTER BALLOT FOR VOTING NOMINEES OF HOLDERS
OF SENIOR NOTEHOLDER CLAIMS TO ACCEPT OR REJECT
PLANS OF REORGANIZATION FOR TRIBUNE COMPANY

PLEASE READ AND FOLLOW THE INSTRUCTIONS CAREFULLY.

PLEASE COMPLETE, SIGN AND DATE THIS MASTER BALLOT AND RETURN IT
TO EPIQ BANKRUPTCY SOLUTIONS, LLC (THE “VOTING AGENT”) AT THE
FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT PROCESSING CENTER, C/O
EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE, THIRD FLOOR, NEW YORK,
NY 10017. IF THIS MASTER BALLOT HAS NOT BEEN ACTUALLY RECEIVED BY THE
VOTING AGENT BY JANUARY 28, 2011 AT 4:00 P.M. EASTERN TIME (THE “VOTING
DEADLINE”), THE VOTES AND ELECTIONS OF YOUR CUSTOMERS WILL NOT BE
COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT

' ‘The Debtors in these chapter II cases, along with the fast four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865), 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258), California
Community News Corporation (5306), Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256), Channel 40, Inc.
(3844), Chicago Avenue Construction Company (8634), Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439), Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121), Distribution Systems of America, Inc. (3811), Eagle New Media Investments, 1.1.C (6661); Eagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219), ForSale8yOwner.com Referral Services, LLC (9205), Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940), Gold Coast Publications, inc. (5505), GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808), Homcowners Realty, Inc. (1507), Homestead Publishing Co, (4903), Hoy, LLC (8033), Hoy Publications, LLC (2352); InsertCo, Inc.
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company I, LLC; KIAH Inc. (4014); KPLR, inc.
(7943), KSWB Inc. (7035); KTLA Inc, (3404), KWGN Inc. (5347); Los Angeles Times Communications 1.1.C (1324); Los Angeles Times
international, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company ($466), North Orange Avenue Propertics, Inc. (4056), Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775), Patuxent Publishing Company (4223), Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc, (2027); Shepard's Inc. (7931); Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455), Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684); The Baltimore Sun Company
(6880), The Daily Press, Inc. (9368); The Hartford Courant Company (3490), The Morning Call, Inc. (7560); The Other Company LLC (5337):
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc, (4227); Times Mirror Services Company, Inc.
(1326), TMLH 2, Inc. (0720); TMLS 1, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution Company (9066), Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Hoidco, LLC (2534); Tribune Broadcasting News Network, Inc., vk/a Tribune Washington Burcan Inc, (1088), Tribune California Properties,
Inc. (1629), Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537): Tribune Finance Service
Center, Inc. (7844), Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279),
Tribune Media Net, Inc. (7847), Tribune Media Services, Inc. (1080), Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278), Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630), Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587): WATL, LLC (7384); WCCT, Inc., fk/a WTXX
Inc. (1268), WCWN LLC (5982), WDCW Broadcasting, Inc. (8300), WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
illinois 60611.

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THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE VOTING
DEADLINE.

This Master Ballot is to be used by you, as a broker, bank, commercial bank, trust company,
dealer, or other agent or nominee (each of the foregoing, a “Voting Nominee”) for Beneficial Owners of
Senior Notes issued by Tribune Company, to transmit the votes of such Beneficial Owners in respect of
their Senior Noteholder Claims to vote to accept or reject the plans of reorganization for Tribune
Company (together with its subsidiaries in the above-captioned chapter 11 cases, the “Debtors”) and to
make other elections called for under certain of such plans, Capitalized terms used in this Master Ballot
but not defined herein have the meanings ascribed to them in the Joint Instructions for Completing
Consolidated Ballots (the “Joint Instructions”) that are included in the package containing this Master
Ballot or, where applicable, in the relevant plan of reorganization.

The following chapter |] plans have been proposed for the Debtors:

e First Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by the Debtors, the Official Committee of Unsecured Creditors, Oaktree
Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. (D.I. 7050] (the “Debtor/Committee/Lender Plan”);

¢ Joint Plan of Reorganization for Tribune Company and its Subsidiaries Proposed by
Aurelius Capital Management, LP, on Behalf of its Managed Entities, Deutsche Bank
Trust Company Americas, in its Capacity as Successor Indenture Trustee for Certain
Series of Senior Notes, Law Debenture Trust Company of New York, in its Capacity as
Successor Indenture Trustee for Certain Series of Senior Notes and Wilmington Trust
Company, in its Capacity as Successor Indenture Trustee for the PHONES Notes [D.I.
7073] (the “Noteholder Plan”);

e First Amended Plan of Reorganization for Tribune Company and its Subsidiaries
Proposed by Certain Holders of Step One Senior Loan Claims [D.1. 7119] (the “Step One
Lender Plan”); and

* Amended Joint Plan of Reorganization for Tribune Company and its Subsidiaries
Proposed by King Street Acquisition Company, L.L.C., King Street Capital, L.P. and
Marathon Asset Management, L.P. [D.1. 7089] (the “Bridge Lender Plan”).

These plans of reorganization are referred to in this Master Ballot as the “Plans”.

The Voting Instructions attached to this Master Ballot provide detailed, step-by-step instructions
for completing the Master Ballot.

The proponents of each of the Plans have prepared Responsive Statements that are part of this
Solicitation Package. The Responsive Statements describe the proponents’ views of the other Plans.

You or the Beneficial Owners for whom you are the Voting Nominee may wish to seek legal
advice concerning the Plans and the classification and treatment of the Senior Noteholder Claims under
each of the Plans.

Senior Noteholder Claims against Tribune Company are all Claims based on the following series
of Senior Notes issued by Tribune Company:

6.25% Notes due November 10, 2026
7.25% Notes due March 1, 2013 (CUSIP # 887364AA5)
7.5% Notes due July 1, 2023 (CUSIP # 887364AB3)

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6.61% Notes due September 15, 2027 (CUSIP # 887364AF4)
7.25% Notes due November 15, 2096 (CUSIP # 887360AT2)

4.875% Notes due August 15, 2010 (CUSIP # 896047AE7)
5.25% Notes due August 15, 2015 (CUSIP # 896047AF4)
5.67% Notes due December 8, 2008 (CUSIP #89604KAN8)

Votes to accept or reject the Plans from Beneficial Owners of Senior Noteholder Claims, and
accompanying elections, will be returned to you on Consolidated Ballots and Election Forms. For each
completed, executed Consolidated Ballot or Election Form returned to you by a Beneficial Owner, you
must retain a copy of such Consolidated Ballot or Election Form in your files for at least one (1) year
from the Voting Deadline.

PRIOR TO COMPLETING THIS MASTER BALLOT, PLEASE REFER TO THE
INSTRUCTIONS ATTACHED TO THIS MASTER BALLOT FOR FURTHER EXPLANATION ON
HOW TO COMPLETE THE ITEMS SET FORTH BELOW.

Item 1 - CERTIFICATION OF AUTHORITY TO VOTE. The undersigned certifies that as of
December 6, 2010, (the “Record Date”), the undersigned (please check applicable box):

{is a broker, bank, or other agent or nominee for the Beneficial Owners of the aggregate principal
amount of Senior Notes listed in Items 2 and 3 below that are the registered holders of such
Senior Notes; or

(J) is acting under a power of attorney and/or agency (a copy of which will be provided upon
request) granted by a broker, bank, or other agent or nominee that is the registered holder of the
aggregate principal amount of Senior Notes listed in Items 2 and 3 below; or

Q has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
nominee, or a Beneficial Owner, that is the registered holder of the aggregate principal amount of
Senior Notes listed in Items 2 and 3 and, accordingly, has full power and authority to (1) vote to
accept or reject each of the Plans and (2) make the elections called for pursuant to each of the
Plans, each on behalf of the Beneficial Owners of the Senior Notes described in Items 2 and 3
below,

Item 2 - TABULATION OF BENEFICIAL OWNER VOTING. The undersigned certifies that:

Acceptances/Rejections. The Beneficial Owners of Senior Noteholder Claims in the
following aggregate unpaid principal amounts have delivered duly completed
Consolidated Ballots to the undersigned (or such information was derived from
Consolidated Ballots that have been summarized in intermediary Master Ballots delivered
to the undersigned) voting to Accept or Reject the following Plans:

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Plans Class Total Total Total Total Total Total
Description | Number of Aggregate Number of | Aggregate Number Aggregate
Holders Unpaid Holders Unpaid of Unpaid
Voting to Principal Voting to Principal Holders Principal
Accept Amount of Reject Amount of | Ranking Ranking
Holders Holders Plan Plan
Voting to Voting to
Accept Reject
Debtor/Committee/ | Class 1E
Lender Plan § $ #1: #1: $
#2: #2: $
#3: #3: §
#4, #4.3
Noteholder Plan Class 1F
$ $ #1: #1: §
#2: #2: $
#3: #3: $
HA: #4: §
Step One Lender Class IE
Plan $ $ #1: HI: §
#2: #2: $
#3; #3: §$
#4: #4: §
Bridge Lender Plan | Class 1F
$ $ #1: #1: $
#2; #2: §
#3; #3, $
#4; #4: §

Item 3 - TRANSMITTAL OF VOTES FROM INDIVIDUAL CONSOLIDATED BALLOTS. The
undersigned transmits the following votes of Beneficial Owners of Senior Noteholder Claims and certifies
that the following are Beneficial Owners, as of the Record Date, and have delivered to the undersigned, as

Voting Nominee, Consolidated Ballots casting such votes (indicate in each column the aggregate
principal amount voted for each account).

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Item 4 — ADDITIONAL INFORMATION SUBMITTED BY BENEFICIAL OWNERS

The undersigned certifies that the following information is a true and accurate schedule on which the
undersigned has transcribed the information, if any, provided in Item 5(e) of each Consolidated Ballot
received from a Beneficial Owner of the Senior Notes.

Information transcribed from Item 5 of the Consolidated Ballots regarding other Consolidated
Ballots cast in respect of Senior Noteholder Claims

Your Customer Name | Account Number | Name of Registered | CUSIP Number Principal Amount of
or Account Number for | of Other Senior Holder or Voting of Senior Other Senior Noteholder
Each Beneficial Owner Notes Nominee of Other Noteholder Claims Voted in

who completed Item Senior Noteholder Claims Voted Additional BalJot(s)
5(e) of the Claims Voted

Consolidated Ballot

If the space provided is insufficient, please attach additional sheets in the same format.

Item 5 — CERTIFICATION. By signing this Master Ballot, the undersigned certifies that: (a) each
Beneficial Owner of Senior Notes whose votes are being transmitted by this Master Ballot has been
provided with a copy of the Joint Disclosure Statement, the Plans, the Responsive Statements, the
Solicitation Order and a Consolidated Ballot for voting its Claim on the Plans; (b) it is the registered
holder of the Senior Notes to which this Master Ballot pertains and/or has full power and authority to vote
to accept or reject the Plans and make the elections called for therein; (c) it received a properly completed
and signed Consolidated Ballot from each Beneficial Owner listed in Item 3 above; and (d) it accurately
transcribed all applicable information from the Consolidated Ballots received from each Beneficial
Owner. The undersigned also acknowledges that the solicitation of this vote to accept or reject the Plans
is subject to all the terms and conditions set forth in the Solicitation Order, dated December 9, 2010.

Name of Voting Nominee

Participant Number

Signature

if by Authorized Agent, Name and Title

Street Address

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City, State and Zip Code

Telephone Number

Email

Date Completed

PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT
PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE,
THIRD FLOOR, NEW YORK, NY 10017. IF THIS MASTER BALLOT HAS NOT BEEN
ACTUALLY RECEIVED BY THE VOTING AGENT BY JANUARY 28, 2011 AT 4:00 P.M.
EASTERN TIME, THE VOTES AND ELECTIONS OF YOUR CUSTOMERS WILL NOT BE
COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT
THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE VOTING
DEADLINE.

BALLOTS RECEIVED BY FACSIMILE OR OTHER ELECTRONIC MEANS OR RECEIVED
AFTER THE VOTING DEADLINE WILL NOT BE COUNTED.

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VOTING INSTRUCTIONS

VOTING DEADLINE:

The Voting Deadline is January 28, 2011 at 4:00 p.m. Eastern Time. To have the votes and
elections of your customers count, you must complete, sign, and return the Master Ballot so that it is
received by the Voting Agent at the address set forth in the Master Ballot on or before the Voting
Deadline.’

HOW TO VOTE:

If you are transmitting the votes of any Beneficial Owners of Senior Notes other than yourself,
you must (i) deliver a Consolidated Ballot and Election Form to such Beneficial Owner(s), along with the
Joint Disclosure Statement, the Plans, the Responsive Statements, the Solicitation Order, the
Confirmation Hearing Notice, and other materials requested to be forwarded; and (ii) take the necessary
actions to enable such Beneficial Owners to (a) complete and execute such Consolidated Ballot and (b)
return the completed, executed Consolidated Ballot to you in sufficient time to enable you to complete the
Master Ballot and deliver it to the Voting Agent before the Voting Deadline.

With respect to all of the Consolidated Ballots and Election Forms returned to you, you must
properly complete the Master Ballot, as follows:

i. Check the appropriate box in Item | on the Master Ballot;
il. Indicate the total votes to accept or reject each of the Plans in Item 2;

iil.  Transcribe the votes from the Consolidated Ballots in Item 2 and indicate the

following in Item 3:

a, whether each Beneficial Owner voted to accept or reject each of the Plans;

b. whether each Beneficial Owner checked a box in Item 3 to rank the Plans and in
which order the Beneficial Owner ranked the Plans;

c. in the case of any Beneficial Owners that voted to reject the
Debtor/Committee/Lender Plan, whether each such Beneficial Owner elected to
grant the releases contained in Section 11.2,2 of the Debtor/Committee/Lender
Plan;

d. in the case of any Beneficial Owners that voted to accept the
Debtor/Committee/Lender Plan, whether each such Beneficial Owner elected not
to grant the releases contained in Section 11.2.2 of the Debtor/Committee/Lender
Plan;

e. in the case of any Beneficial Owners that voted to reject the Step One Lender
Plan, whether each such Beneficial Owner elected to grant the releases contained
in Section 11.3.2 of the Step One Lender Plan; and

f. in the case of any Beneficial Owners that voted to accept the Step One Lender
Plan, whether each such Beneficial Owner elected not to grant the releases
contained in Section 11.3.2 of the Step One Lender Plan.

IMPORTANT: BENEFICIAL OWNERS MAY NOT SPLIT THEIR VOTES. PROPERLY
EXECUTED CONSOLIDATED BALLOTS THAT ATTEMPT TO PARTIALLY ACCEPT

® All capitalized terms used in the Master Ballot or these instructions but not otherwise defined therein or herein
have the meanings ascribed to such terms in the Joint Instructions or, where applicable, in the relevant Plan.

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AND PARTIALLY REJECT ANY PLAN WILL NOT BE COUNTED AS A VOTE TO
ACCEPT OR REJECT THAT PLAN. EACH BENEFICIAL OWNER MUST VOTE ALL OF
HIS, HER, OR ITS SENIOR NOTEHOLDER CLAIMS EITHER TO ACCEPT OR REJECT
EACH OF THE PLANS (OR ABSTAIN FROM VOTING THEREON). IF ANY BENEFICIAL
OWNER HAS ATTEMPTED TO SPLIT SUCH VOTE, PLEASE CONTACT EACH
BENEFICIAL OWNER TO CORRECT ITS BALLOT OR THE VOTING AGENT
IMMEDIATELY.

iv.  Transcribe from Item 5(e) of each Consolidated Ballot the information provided by
the Beneficial Owners into Item 4 of the Master Ballot;

v. Review the certification in Item $ of the Master Ballot;
vi. Ensure that each Consolidated Ballot is signed and each certification is complete;

vii. Independently verify and confirm the accuracy of the information provided with
respect to each Beneficial Owner of Senior Notes;

viii, — If additional space is required to respond to any item on the Master Ballot, please use
additional sheets of paper clearly marked to indicate the applicable Item of the
Master Ballot to which you are responding.

ix. Sign, date, and return the original Master Ballot.

You must deliver the completed, executed Master Ballot so that it is actually received by the
Voting Agent on or before the Voting Deadline. You must retain a copy of each completed, executed
Consolidated Ballot returned to you by a Beneficial Owner in your files for at least one (1) year from the
Voting Deadline.

Votes cast by Beneficial Owners through a Voting Nominee will be compared to the holdings of
the Senior Notes of such Beneficial Owners as of the Record Date, as evidenced by the record and
depository listings. Votes submitted by a Voting Nominee, pursuant to a Master Ballot, will not be
counted in excess of the record amount of the Senior Notes held by such Voting Nominee.

For the purpose of tabulating votes, each Beneficial Owner shall be deemed to have voted the
principal amount of its Senior Notes. To the extent that conflicting votes or “overvotes” are submitted by
a Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile discrepancies with the
Voting Nominees. To the extent that overvotes on a Master Ballot are not reconcilable prior to the
preparation of the vote certification, the Voting Agent will apply the votes to accept and to reject each of
the Plans in the same proportion as the votes to accept and reject each of the Plans submitted on the
Master Ballot that contained the overvote, but only to the extent of the Voting Nominee’s position in the
Senior Notes. After the Voting Deadline, no vote on any of the Plans may be withdrawn without the prior
consent of the Proponents of the relevant Plan.

PLEASE NOTE:

This Master Ballot is not a letter of transmittal and may not be used for any purpose other than to
cast votes to accept or reject the Plans and to make certain elections called for therein. Holders of Senior
Noteholder Claims should not surrender their Senior Notes with their Consolidated Ballots. The Voting
Agent will not accept delivery of any such instruments surrendered together with a Master Ballot or
Consolidated Ballot.

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No Consolidated Ballot or Master Ballot shall constitute or be deemed to be a proof of claim or
equity interest or an assertion of a claim or equity interest.

No fees or commissions or other remuneration will be payable to any Voting Nominee. Upon
written request with supporting documentation, however, the Debtors will reimburse you for reasonable,
actual, and necessary out-of-pocket expenses associated with the distribution of the Solicitation Packages
to your clients, the tabulation of the Ballots and Election Forms and the completion of this Master Ballot.

IF YOU BELIEVE THAT YOU ARE MISSING ANY MATERIALS FROM THE
SOLICITATION PACKAGE OR THAT YOU HAVE RECEIVED THE WRONG BALLOT, OR
IF YOU HAVE QUESTIONS REGARDING THIS MASTER BALLOT, OR THE
VOTING PROCEDURES, OR IF YOU NEED ADDITIONAL COPIES OF
THE MASTER BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE

VOTING AGENT AT (888) 287-7568 OR AT TRIBUNEVOTE@EPIQSYSTEMS.COM.

PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT
PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE,
THIRD FLOOR, NEW YORK, NY 10017.

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Master Ballot for PHONES Notes Claims

UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter |]
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

MASTER BALLOT FOR VOTING NOMINEES OF HOLDERS OF
PHONES NOTES CLAIMS (CUSIP NO. 896047305) TO ACCEPT OR REJECT

PLANS OF REORGANIZATION FOR TRIBUNE COMPANY

PLEASE READ AND FOLLOW THE INSTRUCTIONS CAREFULLY.

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Associates, Inc. (6121), Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Bagle Publishing
Investments, LLC (6327), forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(3628), Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507), Homestead Publishing Co. (4903); Hoy, LLC (8033), Hoy Publications, LLC (2352); InsertCo, Inc.
(2663), Internet Foreclosure Service, Inc, (6550); JuliusAir Company, LLC (9479), JuliusAir Company Il, LLC: KIAH Inc. (4014); KPLR, Inc,
(7943), KSWB Inc. (7035); KTLA ine. (3404); KWGN Inc. (5347); Los Angeles Timcs Communications LLC (1324); Los Angeles Times
International, Ltd. (6079), Los Angeles Times Newspapers, Inc, (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc, (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc. (4817), Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056); Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775), Patuxent Publishing Company (4223); Publishers Forest Products Co. of Washington (4750), Sentinel
Communications News Ventures, Inc. (2027); Shepard's Inc, (7931): Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276), Sun-Sentine! Company (2684); The Baltimore Sun Company
(6880), The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Morning Call, Inc. (7560); The Other Company LLC (5337):
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227), Times Mirror Services Company, Inc.
(1326); TMLH 2, inc. (0720), TMLS |, Inc. (0719), TMS Entertainment Guides, Inc, (6325), Tower Distribution Company (9066); Towering T
Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088); Tribune California Properties,
Inc. (1629), Tribune CNLBC, LIC, f/k/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537), Tribune Finance Service
Center, Inc. (7844), Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522). Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc, (7847), Tribune Media Services, Inc. (1080); Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384); WCCT, Inc., ffk/a WTXX
Inc, (1268), WCWN LLC (5982), WDCW Broadcasting, Inc, (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for cach Debtor is 435 North Michigan Avenue, Chicago,
illinois 60611.

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THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE VOTING
DEADLINE.

This Master Ballot is to be used by you, as a broker, bank, commercial bank, trust company,
dealer, or other agent or nominee (each of the foregoing, a “Voting Nominee”) for Beneficial Owners of
PHONES Notes Claims issued by Tribune Company, to transmit the votes of such Beneficial Owners in
respect of their PHONES Notes Claims to vote to accept or reject the plans of reorganization for Tribune
Company (together with its subsidiaries in the above-captioned chapter 11 cases, the “Debtors”) and to
make other elections called for under certain of such plans. Capitalized terms used in this Master Ballot
but not defined herein have the meanings ascribed to them in the Joint Instructions for Completing
Consolidated Ballots (the “Joint Instructions”) that are included in the package containing this Master
Ballot or, where applicable, in the relevant plan of reorganization.

The following chapter 11 plans have been proposed for the Debtors:

e First Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by the Debtors, the Official Committee of Unsecured Creditors, Oaktree
Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,

N.A. [D.I, 7050] (the “Debtor/Committee/Lender Plan”);

e Joint Plan of Reorganization for Tribune Company and its Subsidiaries Proposed by
Aurelius Capital Management, LP, on Behalf of its Managed Entities, Deutsche Bank
Trust Company Americas, in its Capacity as Successor Indenture Trustee for Certain
Series of Senior Notes, Law Debenture Trust Company of New York, in its Capacity as
Successor Indenture Trustee for Certain Series of Senior Notes and Wilmington Trust
Company, in its Capacity as Successor Indenture Trustee for the PHONES Notes [D.I.
7073] (the “Noteholder Plan”);

* First Amended Plan of Reorganization for Tribune Company and its Subsidiaries
Proposed by Certain Holders of Step One Senior Loan Claims [D.1. 7119] (the “Step One
Lender Plan”); and

¢ Amended Joint Plan of Reorganization for Tribune Company and its Subsidiaries
Proposed by King Street Acquisition Company, L.L.C., King Street Capital, L.P. and
Marathon Asset Management, L.P. [D.I. 7089] (the “Bridge Lender Plan”).

These plans of reorganization are referred to in this Master Ballot as the “Plans”.

The Voting Instructions attached to this Master Ballot provide detailed, step-by-step instructions
for completing the Master Ballot.

The proponents of each of the Plans have prepared Responsive Statements that are part of the
Solicitation Package. The Responsive Statements describe the proponents’ views of the other Plans.

You or the Beneficial Owners for whom you are the Voting Nominee may wish to seek legal
advice concerning the Plans and the classification and treatment of the PHONES Notes Claims under
each of the Plans.

PHONES Notes Claims against Tribune Company are Claims arising under or evidenced by that
certain Indenture dated April 1, 1999 between Tribune Company, as Issuer, and Bank of Montreal Trust
Company, as Trustee (the “PHONES Notes Indenture”) and related documents, and are identified as
follows:

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PHONES Notes Indenture, dated
April 1, 1999

(CUSIP # 896047305)

Votes to accept or reject the Plans from the Beneficial Owners of PHONES Notes Claims, and

accompanying elections, will be returned to you on Consolidated Ballots and Election Forms. For each
completed, executed Consolidated Ballot or Election Form returned to you by a Beneficial Owner, you
must retain a copy of such Consolidated Ballot or Election Form in your files for at least one (1) year
from the Voting Deadline.

PRIOR TO COMPLETING THIS MASTER BALLOT, PLEASE REFER TO THE

INSTRUCTIONS ATTACHED TO THIS MASTER BALLOT FOR FURTHER EXPLANATION ON
HOW TO COMPLETE THE ITEMS SET FORTH BELOW.

Item 1 - CERTIFICATION OF AUTHORITY TO VOTE. The undersigned certifies that as of
December 6, 2010, (the “Record Date”), the undersigned (please check applicable box):

O

is a broker, bank, or other agent or nominee for the Beneficial Owners of the aggregate principal
amount of PHONES Notes listed in Items 2 and 3 below that are the registered holders of such
PHONES Notes; or

is acting under a power of attorney and/or agency (a copy of which will be provided upon
request) granted by a broker, bank, or other agent or nominee that is the registered holder of the
aggregate principal amount of PHONES Notes listed in Items 2 and 3 below; or

has been granted a proxy (an original of which is attached hereto) from a broker, bank, or other
nominee, or a Beneficial Owner, that is the registered holder of the aggregate principal amount of
PHONES Notes listed in Items 2 and 3 and, accordingly, has full power and authority to (1) vote
to accept or reject each of the Plans and (2) make the elections called for pursuant to each of the
Plans, each on behalf of the Beneficial Owners of the PHONES Notes described in Items 2 and 3
below.

Item 2 - TABULATION OF BENEFICIAL OWNER VOTING. The undersigned certifies that:

Acceptances/Rejections. The Beneficial Owners of PHONES Notes in the following
aggregate unpaid principal amounts have delivered duly completed Consolidated Ballots
to the undersigned (or such information was derived from Consolidated Ballots that have
been summarized in intermediary Master Ballots delivered to the undersigned) voting to
Accept or Reject the following Plans:

Plans Class Total Total Total Total Total Total
Description | Number of {| Aggregate | Numberof | Aggregate Number Aggregate
Holders Unpaid Holders Unpaid of Unpaid
Voting to Principal Voting to Principal Holders Principal
Accept Amount of Reject Amount of Ranking Ranking
Holders Holders Plan Plan
Voting to Voting to
Accept Reject
Debtor/Committee/ | Class 1]
Lender Plan $ $ #1: #1

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#2: ss #2:
43; #3: $
HAL) AAD
Noteholder Plan Class II
$ $ #1; | an S$
#2: sd] «#2:
#3: 00 #3; $
#4: | #4:
Step One Lender Class IJ
Plan $ $ #1: | ALS
#2: | #2: $
#3: {| #3:
HA: | HA SH
Bridge Lender Plan | Class 11
$e $e #1, | #1: $
#2; | #2: $
#3; 0 #3: $
#4; #4: $

Item 3- TRANSMITTAL OF VOTES FROM INDIVIDUAL CONSOLIDATED BALLOTS. The
undersigned transmits the following votes of Beneficial Owners of PHONES Notes and certifies that the
following are Beneficial Owners, as of the Record Date, and have delivered to the undersigned, as Voting
Nominee, Consolidated Ballots casting such votes (indicate in each column the aggregate principal
amount voted for each account).

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Item 4 - ADDITIONAL INFORMATION SUBMITTED BY BENEFICIAL OWNERS

The undersigned certifies that the following information is a true and accurate schedule on which the
undersigned has transcribed the information, if any, provided in Item 5 of each Consolidated Ballot
received from a Beneficial Owner of PHONES Notes.

Information transcribed from Item 5 of the Consolidated Ballots regarding other Consolidated

Ballots cast in tof PHONES Notes Claims
Your Customer Name or Account Number Name of Registered | CUSIP Number of | Principal Amount of Other
Account Number for Each | of Other PHONES Holder or Voting PHONES Notes PHONES Notes Claims
Beneficial Owner who Notes Nominee of Other Claims Voted Voted in Additional
completed Item 5(e) of PHONES Notes Ballot(s)
the Consolidated Ballot Claims Voted

If the space provided is insufficient, please attach additional sheets in the same format.

Item 6 — CERTIFICATION. By signing this Master Ballot, the undersigned certifies that: (a) each
Beneficial Owner of PHONES Notes whose votes are being transmitted by this Master Ballot has been
provided a copy of the Joint Disclosure Statement and the Plans related thereto, the Responsive
Statements, the Solicitation Order and a Consolidated Ballot for voting its Claim on the Plans; (b) it is the
registered holder of the PHONES Notes to which this Master Ballot pertains and/or has full power and
authority to vote to accept or reject the Plans and make the elections called for therein; (c) it received a
properly completed and signed Consolidated Ballot from each Beneficial Owner listed in Item 3 above;
and (d) it accurately transcribed all applicable information from the Consolidated Ballots and Election
Forms received from each Beneficial Owner. The undersigned also acknowledges that the solicitation of
this vote to accept or reject the Plans is subject to all the terms and conditions set forth in the Solicitation
Order, dated December 9, 2010.

Name of Voting Nominee

Participant Number

Signature

If by Authorized Agent, Name and Title

Street Address

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City, State and Zip Code

Telephone Number

Email

Date Completed

PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT
PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE,
THIRD FLOOR, NEW YORK, NY 10017. IF THIS MASTER BALLOT HAS NOT BEEN
ACTUALLY RECEIVED BY THE VOTING AGENT BY JANUARY 28, 2011 AT 4:00 P.M.
EASTERN TIME, THE VOTES AND ELECTIONS OF YOUR CUSTOMERS WILL NOT BE
COUNTED. THEREFORE, YOU MUST ALLOW SUFFICIENT TIME TO BE SURE THAT
THE MASTER BALLOT IS RECEIVED BY THE VOTING AGENT BEFORE THE VOTING
DEADLINE.

BALLOTS RECEIVED BY FACSIMILE OR OTHER ELECTRONIC MEANS OR RECEIVED
AFTER THE VOTING DEADLINE WILL NOT BE COUNTED.

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VOTING INSTRUCTIONS

VOTING DEADLINE:

The Voting Deadline is January 28, 2011 at 4:00 p.m. Eastern Time. To have the votes and
elections of your customers count, you must complete, sign, and return the Master Ballot so that it is
received by the Voting Agent at the address set forth in the Master Ballot on or before the Voting
Deadline.’

HOW TO VOTE:

If you are transmitting the votes of any Beneficial Owners of PHONES Notes other than yourself,
you must (i) deliver a Consolidated Ballot and Election Form to such Beneficial Owner(s), along with the
Joint Disclosure Statement, the Plans, the Responsive Statements, the Solicitation Order, the
Confirmation Hearing Notice, and other materials requested to be forwarded, and (ii) take the necessary
actions to enable such Beneficial Owners to (a) complete and execute such Consolidated Ballot and (b)
return the completed, executed Consolidated Ballot to you in sufficient time to enable you to complete the
Master Ballot and deliver it to the Voting Agent before the Voting Deadline.

With respect to all of the Beneficial Ballots returned to you, you must properly complete the
Master Ballot, as follows:

i. Check the appropriate box in Item | on the Master Ballot;
ii. Indicate the total votes to accept or reject each of the Plans in Item 2;

iii. | Transcribe the votes from the Consolidated Ballots in Item 2 and indicate the

following in Item 3:

a. whether each Beneficial Owner voted to accept or reject each of the Plans;

b. whether each Beneficial Owner checked a box in Item 3 to rank the Plans and in
which order the Beneficial Owner ranked the Plans;

c. in the case of any Beneficial Owners that voted to reject the
Debtor/Committee/Lender Plan, whether each such Beneficial Owner elected to
grant the releases contained in Section 11.2.2 of the Debtor/Committee/Lender
Plan;

d. in the case of any Beneficial Owners that voted to accept the
Debtor/Committee/Lender Plan, whether each such Beneficial Owner elected not
to grant the releases contained in Section 11.2.2 of the Debtor/Committee/Lender
Pian;

e. in the case of any Beneficial Owners that voted to reject the Step One Lender
Plan, whether each such Beneficial Owner elected to grant the releases contained
in Section 11.3.2 of the Step One Lender Plan; and

f. in the case of any Beneficial Owners that voted to accept the Step One Lender
Plan, whether each such Beneficial Owner elected not to grant the releases
contained in Section 11.3.2 of the Step One Lender Plan.

IMPORTANT: BENEFICIAL OWNERS MAY NOT SPLIT THEIR VOTES. PROPERLY
EXECUTED CONSOLIDATED BALLOTS THAT ATTEMPT TO PARTIALLY ACCEPT

? All capitalized terms used in the Master Ballot or these instructions but not otherwise defined therein or herein
have the meanings ascribed to such terms in the Joint Instructions or, where applicable, in the relevant Plan.

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AND PARTIALLY REJECT ANY PLAN WILL NOT BE COUNTED AS A VOTE TO
ACCEPT OR REJECT THAT PLAN, EACH BENEFICIAL OWNER MUST VOTE ALL OF
HIS, HER, OR ITS PHONES NOTES CLAIMS EITHER TO ACCEPT OR REJECT EACH OF
THE PLANS (OR ABSTAIN FROM VOTING THEREON). IF ANY BENEFICIAL OWNER
HAS ATTEMPTED TO SPLIT SUCH VOTE, PLEASE CONTACT EACH BENEFICIAL
OWNER TO CORRECT ITS BALLOT OR THE VOTING AGENT IMMEDIATELY.

iv. | Transcribe from Item 5(e) of each Consolidated Ballot the information provided by
the Beneficial Owners into Item 4 of the Master Ballot;

v. _ Review the certification in Item 5 of the Master Ballot;
vi. Ensure that each Consolidated Ballot is signed and each certification is complete;

vit. Independently verify and confirm the accuracy of the information provided with
respect to each Beneficial Owner of PHONES Notes;

viii. If additional space is required to respond to any item on the Master Ballot, please use
additional sheets of paper clearly marked to indicate the applicable Item of the
Master Ballot to which you are responding.

ix. Sign, date, and return the original Master Ballot.

You must deliver the completed, executed Master Ballot so that it is actually received by the
Voting Agent on or before the Voting Deadline. You must retain a copy of each completed, executed
Beneficial Ballot returned to you by a Beneficial Owner in your files for at least one (1) year from the
Voting Deadline.

Votes cast by Beneficial Owners through a Voting Nominee will be compared to the holdings of
the PHONES Notes of such Beneficial Owners as of the Record Date, as evidenced by the record and
depository listings. Votes submitted by a Voting Nominee, pursuant to a Master Ballot, will not be
counted in excess of the record amount of the PHONES Notes held by such Voting Nominee.

For the purpose of tabulating votes, each Beneficial Owner shall be deemed to have voted the
principal amount of its PHONES Notes. To the extent that conflicting votes or “overvotes” are submitted
by a Voting Nominee, the Voting Agent, in good faith, will attempt to reconcile discrepancies with the
Voting Nominees. To the extent that overvotes on a Master Ballot are not reconcilable prior to the
preparation of the vote certification, the Voting Agent will apply the votes to accept and to reject each of
the Plans in the same proportion as the votes to accept and reject each of the Plans submitted on the
Master Ballot that contained the overvote, but only to the extent of the Voting Nominee’s position in the
PHONES Notes. After the Voting Deadline, no vote on any of the Plans may be withdrawn without the
prior consent of the Proponents of the relevant Plan.

PLEASE NOTE:

This Master Ballot is not a letter of transmittal and may not be used for any purpose other than to
cast votes to accept or reject the Plans and to make certain elections called for therein. Holders of
PHONES Notes Claims should not surrender their PHONES Notes with the Consolidated Ballots. The
Voting Agent will not accept delivery of any such instruments surrendered together with a Master Ballot
or Consolidated Ballot.

No Consolidated Ballot or Master Ballot shall constitute or be deemed to be a proof of claim or
equity interest or an assertion of a claim or equity interest.

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No fees or commissions or other remuneration will be payable to any Voting Nominee. Upon
written request with supporting documentation, however, the Debtors will reimburse you for reasonable,
actual, and necessary out-of-pocket expenses associated with the distribution of the Solicitation Packages
to your clients, the tabulation of the Ballots and the completion of this Master Ballot.

IF YOU BELIEVE THAT YOU ARE MISSING ANY MATERIALS FROM THE
SOLICITATION PACKAGE OR THAT YOU HAVE RECEIVED THE WRONG BALLOT, OR
IF YOU HAVE QUESTIONS REGARDING THIS MASTER BALLOT, OR THE
VOTING PROCEDURES, OR IF YOU NEED ADDITIONAL COPIES OF
THE MASTER BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE

VOTING AGENT AT (888) 287-7568 OR AT TRIBUNEVOTE@EPIOSYSTEMS.COM.

PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT TO THE
VOTING AGENT AT THE FOLLOWING ADDRESS: TRIBUNE COMPANY BALLOT
PROCESSING CENTER, C/O EPIQ BANKRUPTCY SOLUTIONS, LLC, 757 THIRD AVENUE,
THIRD FLOOR, NEW YORK, NY 10017.

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